             Case 4:16-cv-02936-HSG Document 5 Filed 06/15/16 Page 1 of 1




 1   Name: DIANE PIEROTTI                                               RECEIVED
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     Address:      SELIMA WAY                                               'M 1 3 2016
                                                                           SUSAiM Y SOONG
 3
     Phone Number: 510 734-7754                                         CLERK, U.S. DiSTRlCT COURT
 4   E-mailAddress: DIANEPIEROTTI@YMAIL.COM                         NORTHERN DISTRICT OF CALIFORNIA
     ProSe
 5

 6
                                UNITED STATES DISTRICT COURT
 7                           NORTHERN DISTRICT OF CALIFORNIA

 8   DIANE PIEROTTI                                   Case Number: ^6-CV-02936-SK
 9                                                    [PROPOSED] ORDER GRANTING
                                                      MOTION FOR PERMISSION FOR
10                             Plaintiff,             ELECTRONIC CASE FILING

11           vs.                                      DATE:
     THE REGENTS OF THE UNIVERSITY                    TIME:
12                                                    COURTROOM:
     OF CALIFORNIA
                                                      JUDGE:
13
                              Defendant.
14

15
             The Court has considered the Motion for Permission for Electronic Case Filing. Finding
16
                                                                       ISTRIC
     that good cause exists, the Motion is GRANTED.
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             IT IS SO ORDERED.                                                                 RT
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                                                      UNIT




                                                                     APPRO
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             DATED:  June 15, 2016
21
                                                      NO




                                                                                allie Kim
                                                        United States District/Magistrate Judge
                                                                     J u d ge S
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